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                 EXHIBIT C
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   1                      UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK
   2
       - - - - - - - - - - - - - - X
   3
       UNITED STATES OF AMERICA,      :
   4                                  :
                         Plaintiff,   :      CR-98-1102
   5                                  :
                 -against-            :      United States Courthouse
   6
                                      :      Brooklyn, New York
   7
       SALVATORE LAURIA,              :
   8
                         Defendant.
                                  :
   9                              :          February 5, 2004
                                  :          10:00 a.m.
 10    - - - - - - - - - - - - - - X

 11                            TRANSCRIPT OF SENTENCING
                          BEFORE THE HONORABLE I. LEO GLASSER
 12                          UNITED STATES DISTRICT JUDGE

 13    APPEARANCES:

 14    For the Plaintiff:         ROSLYNN R. MAUSKOPF, ESQ.
                                  United States Attorney
 15                               BY: ERIC CORNGOLD, ESQ.
                                  Assistant United States Attorney
 16
       For the Defendant:         ROBERT G. STAHL, ESQ.
 17

 18

 19

 20    Court Reporter:            FREDERICK R. GUERINO, C.S.R.
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 21                               Brooklyn, New York
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 22

 23

 24
       Proceedings recorded by mechanical stenography, transcript
 25    produced by CAT.


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   1             THE COURT CLERK:     Criminal cause for sentencing:

   2   United States of America v. Salvatore Lauria.

   3             MR. CORNGOLD:    Eric Corngold for the United States.

   4             MR. STAHL:    Robert Stahl on behalf of Mr. Lauria.

   5             THE COURT:    Ready to proceed?

   6             MR. STAHL:    Yes, Your Honor.

   7             THE COURT:    Have you reviewed the Presentence Report

   8   with your client?

   9             MR. STAHL:    I have, your Honor.

 10              THE COURT:    I think you have taken one exception to

 11    the Presentence Report, based on the Lauersen case.

 12              MR. STAHL:    Yes, Your Honor.     Obviously we also

 13    certainly agree with the government's position on the money

 14    laundering, that there should not be the enhancement for

 15    managerial role in that.      So that if we are looking at the

 16    government's footnote two of their sentencing memorandum, if

 17    I'm correct, your Honor, then it is one difference.           I think

 18    the argument is made in the briefs.

 19              What I would just like to emphasize briefly is that

 20    when you look at the cases affecting a financial institution,

 21    it talks about in some fashion now the cases have been

 22    construed broadly whether the bank -- there's been some cases

 23    whether bank loses interest is that affecting a financial

 24    institution, but we have White Rock and State Street that

 25    were created by Mr. Lauria and others for this.          I don't


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   1   believe that is what Congress is looking for.          I join that

   2   argument with the Lauersen analogy as well, and I think it is

   3   something for your Honor to at least take into consideration.

   4             THE COURT:    Mr. Corngold?

   5             MR. CORNGOLD:    Well, Judge, as I tried to express in

   6   our letter, I think the idea behind the guideline is the

   7   crimes that affect financial institutions, that involve

   8   financial institutions, are cases that the Sentencing

   9   Commission believes deserve this kind of enhancement, and

 10    given the effect of the numerous investors at White Rock and

 11    State Street, the other brokerage firms, we believe the

 12    guideline is appropriate.

 13              THE COURT:    I think so, too.     Lauersen, I think, is

 14    a case which, as I read it, ought to be pretty much confined

 15    to its own facts.     We will eliminate paragraph 99, and that

 16    would make paragraph 101 read 33.       And that makes paragraph

 17    36 read 33, and paragraph 108 becomes 35, and paragraph 110

 18    becomes 32.    Is that right?

 19              MR. CORNGOLD:    Yes, your Honor.

 20              THE COURT:    Mr. Stahl, do you want to be heard

 21    beyond that?

 22              MR. STAHL:    Not on the legal argument.       On the

 23    sentencing, yes, Your Honor.

 24              THE COURT:    Go ahead.

 25              MR. STAHL:    Your Honor, obviously between the PSR,


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   1   probation did an excellent job, and the submission of

   2   Mr. Corngold, your Honor begins to get a fuller sense of Mr.

   3   Lauria, both his conduct involved in the fraud and his

   4   post-rehabilitative conduct.

   5             Mr. Lauria is someone whose family is here in court

   6   today to show their support and it has not been easy.             As

   7   your Honor is aware, Mr. Lauria cooperated fully with the

   8   government immediately and extensively in bringing upon not

   9   only himself, which is not a concern to Mr. Lauria in

 10    particular, but to his family, and to make amends for the

 11    acts that he did.      Mr. Lauria cooperated not only against

 12    other brokers and money launderers, but also against

 13    organized crime, which I think is laid out in both our

 14    submissions.      And that led to a number of threats against Mr.

 15    Lauria and his family, including against his young daughter.

 16              But, in addition to that, Mr. Lauria was the person

 17    at White Rock, State Street Capital that had been

 18    legitimately involved in the stock market business, had

 19    signed all of the leases, and put his name personally

 20    responsible for all of the money, and has settled with every

 21    investor who has filed a suit.       He has settled with the

 22    creditors of those companies, from the phone systems to the

 23    furniture leases, has not walked away from it, did not

 24    declare bankruptcy, and did not say I just can't do this.              He

 25    saw that he had to live up to his responsibilities, that he


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   1   had completely gone off course from his upbringing from a

   2   very humble background, hard-working, family oriented, to

   3   live up to those financial responsibilities, as well as his

   4   family responsibilities.      And he, unlike some other

   5   individuals involved in this, went out and did the best he

   6   could and settled with those people.       So anyone that filed an

   7   action against the companies, or Mr. Lauria or others, Mr.

   8   Lauria has settled with, and has left him, as you can see

   9   from the financials, in difficult financial shape, and

 10    obviously leaving his family in difficult financial shape.

 11              So since he started in 1998 cooperating with the

 12    government, he has lived a legitimate life.         He's attempted

 13    several business ventures, earned legitimate money, has paid

 14    off the people he's owed to satisfy settlements.          He has

 15    certainly regretted what has happened and has tried to make

 16    up for it as best he can.

 17              In addition, I would just like to note, your Honor,

 18    that because of the length of the investigation, the length

 19    of the case, which certainly benefits Mr. Lauria as well, he

 20    has been living something akin to a sentence for the last

 21    five and a half years, never knowing what is going to happen,

 22    not being able to get your life completely squared away and

 23    move forward, and every day not knowing with the family what

 24    is going to happen, has added, of course, the stress to his

 25    already substantial health problems that are outlined in our


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   1   submission.

   2             I would ask your Honor to take all of those factors

   3   into consideration when fashioning an appropriate sentence

   4   for someone that led a hard-working life before, completely

   5   veered from that, and came back and has done everything in

   6   his power to make amends for that, your Honor.

   7             THE COURT:    Who are all of these people that you say

   8   he settled with, who are they?

   9             MR. STAHL:    They were investors that filed lawsuits.

 10              THE COURT:    How many were those?

 11              MR. STAHL:    I would say about between 15 and 20.

 12              THE COURT:    That's just a minuscule percentage of

 13    the number of investors who were defrauded, who suffered

 14    substantial losses as a result of Mr. Lauria's activity.

 15    Fifteen to 20 is not even a drop in the bucket.

 16              MR. STAHL:    Your Honor, I understand.       I'm not

 17    putting Mr. Lauria up for a commendation at all.          Mr. Lauria

 18    committed a complicated stock fraud, as we have seen too many

 19    times in this courtroom, and when I have been before you on

 20    other matters, people who start out legitimately, become

 21    greedy.   They go on a slippery slope and the next thing they

 22    know they are involved in this.       That's not excusable.       But

 23    my point to your Honor is, Mr. Lauria has done what he can

 24    within his own financial means, and the people that sought

 25    claims, people that lost money in the investments, and


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   1   companies that had leased equipment to Mr. Lauria's company

   2   is not just his companies, but the people who were involved

   3   with Mr. Lauria, and none of the other partners have taken

   4   any of this action.     This is something Mr. Lauria has done in

   5   an effort to live up to his responsibilities.

   6             Obviously, when you see numbers in the $30 million

   7   range, we know Mr. Lauria did not receive that amount of

   8   money individually.     We know that the amount of money goes

   9   into the entire conspiracy and the payoffs, and the organized

 10    crime extractions, and the brokers, and things like that.               So

 11    Mr. Lauria sold both his homes, divested the money, and

 12    returned it to the government as part of restitution.

 13              In addition to that, he has settled with the people

 14    that came forward.     Obviously Mr. Lauria could not go out and

 15    track down each and every individual investor and offer them

 16    a penny on each dollar that was lost.       He was one part of a

 17    very large group of individuals.       Most of them have been

 18    before your Honor, 24, I believe, individuals that the

 19    government directly, through Mr. Lauria's cooperation, was

 20    able to indict, in addition to all of the other cases,

 21    including ongoing cases that he has cooperated and still

 22    cooperates to this day with the United States.

 23              THE COURT:    Mr. Corngold?

 24              MR. CORNGOLD:    Well, your Honor, I think that the

 25    court is very familiar with this case.           I don't think I have


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   1   to spend much time talking about the large extent of the

   2   fraud that was involved here, the number of people who were

   3   injured by the fraud, or Mr. Lauria's central role in the

   4   fraud.    He was one of the three original partners.

   5              I guess I would quibble a little with what Mr. Stahl

   6   said, only to the extent that this was not the kind of case

   7   we sometimes see where people start out legitimately, hoping

   8   to set up a legitimate business, and slip into criminality.

   9   I think it is clear, and I think Mr. Lauria will agree, that

 10    this enterprise was set up from the beginning to defraud

 11    people.   Mr. Lauria knew that and was an active central

 12    participant in that, and the courts see numerous defendants

 13    involved, and Mr. Lauria was really at the top of the pyramid

 14    with his partners, Mr. Klotsman and Mr. Sater.

 15               That being said, it is also important, and as I

 16    think I tried to lay out in the letter, it's important to

 17    recognize Mr. Lauria's cooperation was substantial.           Because

 18    Mr. Lauria was at the top of the pyramid, he was able to

 19    give, maybe not sadly, but he was able to give a lot of

 20    cooperation for a number of people.       He was always prepared

 21    to meet with us.    He met with us willingly.       We always found

 22    him to be an honest person in his conversations with us about

 23    his crime.    He always admitted his crimes and he was prepared

 24    to testify.

 25               There was no trial in this case, but Mr. Lauria


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   1    would have been one of the central witnesses in the trial,

   2    had he testified, and we believe that his testimony would

   3    have been credible and useful.      So the court has to balance

   4    both the egregious harm involved here, but also the

   5    substantial assistance, in determining what the proper

   6    sentence should be.

   7              THE COURT:    Mr. Stahl made reference to threats

   8    which I see no reference to in your letter.

   9              What do you know about that?

  10              MR. CORNGOLD:    The threats, your Honor, Mr. Lauria

  11    reported them.    They are described in Mr. Stahl's letter.

  12    Agent Taddeo is here.     I think the answer is, well, we were

  13    never able to identify who made the threats, and that doesn't

  14    mean that we don't believe that what he described didn't

  15    exist.   We were just never able to track them down.

  16              Is that fair?

  17              AGENT TADDEO:    That's correct.

  18              MR. STAHL:    Your Honor, first we know in particular

  19    there was the initial approach by a private investigator

  20    hired by Mr. Persico, and that was someone that Mr. Lauria

  21    had grown up in the neighborhood with.          So that's one of the

  22    individuals that he was very concerned about, because

  23    Mr. Persico viewed as the ultimate act of betrayal.

  24              Second, Mr. Lauria, the telephone call, I'm talking

  25    about to his wife talking about how cute their daughter is,


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   1    was traced to a phone booth a mile and a half away, and was

   2    reported to the local police, and of course was reported to

   3    Agent Taddeo and his squad at the time, and I believe that

   4    was all verified.    Obviously, as Mr. Corngold said, they were

   5    never able to trace who made the call, but it was certainly a

   6    clear message to Mr. Lauria and his family.

   7               THE COURT:   Anything else?

   8               MR. CORNGOLD:    No, Your Honor.

   9               THE COURT:   Did you want to say something?

  10               AGENT TADDEO:    No, your Honor.

  11               THE COURT:   Mr. Lauria, what would you like to say

  12    to me this morning?

  13               THE DEFENDANT:    I have something I prepared.

  14               First, I would like to apologize to you, your Honor,

  15    for being here today.      On my behalf, I want to apologize to

  16    the people I hurt on Wall Street, my clients and former

  17    clients.   I must apologize to my mother and father who came

  18    here to give us the American dream, and to watch her only son

  19    flush it down the toilet.      It's been a devastating event for

  20    my family and myself.      Your Honor, it was an opportunity that

  21    someone like me gets once in a lifetime and that's to get a

  22    chance on Wall Street.      I came from a construction business,

  23    and it was the proudest moment of my life, knowing I was

  24    behind a desk at a job of this caliber.         I failed everyone

  25    when I chose to take a shortcut to cheat, lie and steal.


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   1              I was aware of my actions and did them anyway, even

   2    though I knew the repercussions would be harsh.           I take full

   3    responsibility for my actions and I knew I was wrong.            I took

   4    advantage of the best opportunity someone like me could have,

   5    poor judgment, stupidity led me down the wrong path, which I

   6    was fully aware of in my heart.

   7              Your Honor, it's been six years since I turned

   8    myself in and a decade since I committed the crime.            In these

   9    years, I tried to be the best person I could be.           I

  10    cooperated with the government and have done everything they

  11    asked of me and did more, including surrender material.

  12              I have been scared for my life and my family that I

  13    love very much.     I want nothing more than to change back

  14    time, especially when my youngest daughter was threatened.             I

  15    learned the gravity of my crime went beyond money and put my

  16    family's lives in danger.

  17              I cherish my every waking moment with my wife and

  18    daughters, and realize I want nothing more than to be around

  19    them and to be a great role model and to teach them to be

  20    hard-working citizens.      I know I did bad things.       I am really

  21    sorry.   I brought shame and danger to my family.          In addition

  22    to that, I now face time away from them, and the hardest is

  23    deportation, since I'm not an American citizen.

  24              My family has endured tremendous humiliation and

  25    separation.      Now they must either uproot their lives, leaving


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   1    behind friends and family, or leave me.          I ask your Honor to

   2    take all of these things into consideration in sentencing me.

   3              I tried to cooperate all of these years and tried to

   4    make amends for my wrong.      I lived every day for the past six

   5    years in danger for my family and me, and fear of the unknown

   6    for today the sentence sought itself.        I accept full

   7    responsibility for my actions, your Honor.          That's all I have

   8    to say.

   9              THE COURT:    Well, I don't know how many defendants

  10    were involved overall in this case, but there were quite a

  11    few.

  12              MR. CORNGOLD:     There were 19 defendants in the

  13    indictment and four other defendants charged in separate

  14    counts.

  15              THE COURT:    I heard pretty much the same story over

  16    and over again.     I don't suppose I will ever understand what

  17    it is that permits people like you and the other 18 or 19

  18    people who have been involved in this case to embark upon

  19    that course of conduct and then continue with it for so long.

  20    I just don't know what happens to a moral compass, if such a

  21    compass exists in your universe, interest never ceases to

  22    absolutely confound me that day in and day out you and your

  23    colleagues knew that you were defrauding a lot of people,

  24    that you were inducing people to take money which they may

  25    have set aside for their children's education and for their


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   1    retirement, and it was all lost.

   2               I'm also never capable of understanding the

   3    incredible goal ability of people who have invested or

   4    willingly give money to firms such as State Street Capital,

   5    and the others.     I guess in a sense they are motivated by the

   6    same desire that motivates you or motivated your desire to

   7    get rich quick and to buy penny stocks, relying upon

   8    representations that they will become very rich in a short

   9    while.

  10               I guess in most of us, thankfully, hopefully there's

  11    a little small voice which resides within us, which speaks to

  12    us when we are about to do something that is wrong, that

  13    little voice tells us not to do it, and we listen.            And you

  14    and the others either didn't have that little voice, or if

  15    you did, you weren't paying any attention to it.

  16               What troubles me about this sentence, you put it

  17    correctly, it troubles me all the time, these motions

  18    pursuant to 5K1 are terribly troublesome.         They are

  19    troublesome.     The trouble was compounded by the fact that

  20    it's been five and a half years since Mr. Lauria reported to

  21    the government and said, I'm ready to tell you everything I

  22    know.    Why does it take or why did it take five and a half

  23    years?    I guess in a sense the fault may be mine.          I know

  24    what your answer was, Mr. Corngold, or will be, well,

  25    cooperating during this entire five and a half year period.


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   1    I really am a little skeptical about that.         Most of the other

   2    defendants have pleaded and have been sentenced some time

   3    ago, most of them have.

   4               MR. CORNGOLD:    That's right.

   5               THE COURT:    And I suppose to some extent the fault

   6    also lies with us.      I keep getting letters from you, from

   7    Jonathan Sack, telling me to please postpone the sentence

   8    because Mr. Lauria still is assisting us.         So the sentence

   9    gets put off year in and year out, and during that period of

  10    time in a sense I guess the sentence is really being served

  11    to some extent by the defendant, really in a state of limbo

  12    or uncertainty.

  13               What's going to happen since 1998?        Will I be

  14    separated from my family?      If so, for how long?

  15               Could I start a new career?      Could I embark upon a

  16    new venture.

  17               Does the government think about that?        Don't answer.

  18    I don't want to hear it.      I guess to some extent it is our

  19    fault.    Maybe we should say when we get these letters, no, it

  20    is enough, too much time has gone by, it shouldn't have taken

  21    all of that long.     How much more information could you have

  22    gotten?   He probably gave you everything you needed to pursue

  23    a very successful prosecution within six months after he

  24    began to cooperate with you.       What did you have to know?        He

  25    told you what Sater was doing, what Klotsman was doing, what


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   1    all of the others were doing.       How the fraud was perpetrated.

   2              What else did you have to know?

   3              Why did it take five and a half years?

   4              I'm not a prosecutor.      I don't prepare these cases.

   5    But just common sense would tell me that you know pretty much

   6    everything you had to know a long time ago in order to pursue

   7    a successful prosecution, particularly if Mr. Lauria is

   8    willing to cooperate and testify against all of these people.

   9    That compounds the difficulty which I have, because in a

  10    sense it is not inappropriate for me to take into account

  11    five and a half years during which Mr. Lauria was living in a

  12    state of limbo.     He wasn't separated from his family, that's

  13    true.   He wasn't spending all of that time in a federal

  14    correctional facility, that's true.        But there are all kinds

  15    of confinements, some are physical, some are psychological.

  16    I don't know which is worse.       Maybe I would like to hear from

  17    you, Mr. Corngold.

  18              Why did it take five and a half years?

  19              MR. CORNGOLD:     Well, your Honor --

  20              THE COURT:    I don't think you were involved from the

  21    beginning.   I think this is Mr. Sacks.

  22              MR. CORNGOLD:     I think that the general point that

  23    the court is making is actually correct, and I do find it

  24    troubling, I think in this instance with Mr. Lauria and a

  25    couple of his other codefendants whose haven't been sentenced


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   1    yet, there are still two, there are still three more, the

   2    reason is the specific one which is that there were other

   3    matters that the government felt that Mr. Lauria had

   4    potentially contributed to that were serious and significant

   5    that in this instance didn't pan out to the degree that it

   6    deserved discussion in the letter, but that we felt we had a

   7    good reason to think that it was useful to let Mr. Lauria

   8    continue to try to work on those matters.        I think in general

   9    the court is right, though.       I think in general the

  10    government and I let these things drag out too long, but I do

  11    think in this instance if the court wants me to describe in

  12    more detail what I'm talking about --

  13              THE COURT:    No.

  14              MR. CORNGOLD:       In this instance with Mr. Lauria and

  15    codefendants, it was actually appropriate, but I do take the

  16    court's point, which I do think is right.

  17              THE COURT:    I am going to grant the government's

  18    motion pursuant to 5K1.1, and for the reasons which have been

  19    indicated in the letter on behalf of the defendant, which I

  20    won't bother spreading on the record.       I think they have been

  21    alluded to.

  22              I'm going to put Mr. Lauria on probation for a

  23    period of five years.     As a condition of probation, I'm going

  24    to direct 12 months of home confinement, 300 hours of

  25    community service, $100 special assessment, and a $20,000


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   1    fine.

   2              For the reasons indicated in the government's

   3    letter, with which I fully agree, regarding restitution,

   4    restitution in not appropriate in this case for the reasons

   5    which will be found in 3664(a) and 3663(a)(C)(3) of Title 18

   6    of the United States Code.

   7              I don't think there was an underlying indictment

   8    here, was there?

   9              MR. CORNGOLD:     No, Your Honor.

  10              THE COURT:     This was a plea to an Information?

  11              MR. CORNGOLD:     That's correct.

  12              THE COURT:     Mr. Lauria, the relative leniency of the

  13    sentence which I'm imposing today should not for a minute

  14    give you the slightest suggestion that the sentence reflects

  15    a forgiving view of what you were involved in back in the

  16    early '90s.      I don't think there's anything more for me to

  17    say which would add to what I have already said in connection

  18    with this case.     There's nothing else?

  19              MR. CORNGOLD:     No, Your Honor.

  20              MR. STAHL:     No, Your Honor.

  21              THE COURT:     These proceedings are concluded.

  22              MR. STAHL:     Your Honor, I just have one point --

  23              THE COURT:     Before we go any further, there was a

  24    Cooperation Agreement, right?

  25              MR. CORNGOLD:     Yes, Your Honor.


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   1              THE COURT:   And there was no waiver in that

   2    agreement that generally isn't those pleas.

   3              MR. CORNGOLD:    That's correct.

   4              THE COURT:   So I'm obliged Mr. Lauria that he has a

   5    right to appeal this sentence, only God knows why he would,

   6    but you have that right, and if you can't afford to fund an

   7    appeal, you can make an application to have the fees waived.

   8              If there's nothing else, these proceedings are

   9    concluded.

  10              Is there something else?

  11              MR. STAHL:   Your Honor, I just have one brief point

  12    of clarification.    I don't know how it works in the Eastern

  13    District, I apologize.

  14              THE COURT:   The question is, can you he continue to

  15    work?   The answer is yes.

  16              MR. STAHL:   Yes.

  17              THE COURT:   Anything else?

  18              MR. STAHL:   No, Your Honor.

  19              MR. CORNGOLD:    Thank you very much.

  20              (The sentencing is concluded.)

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